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                     United States District Court
                      District of Massachusetts

                                        )
Elisabeth Kimmel,                       )
                                        )
                Petitioner,             )
                                        )
          v.                            )     Criminal Action No.
                                        )     19-10080-NMG
United States of America,               )
                                        )
                Respondent.             )
                                        )



                          MEMORANDUM & ORDER

GORTON, J.

     The pending motion of petitioner, Elizabeth Kimmel

(“Kimmel”), for recusal of the presiding district judge (Docket

No. 2755) arises out of her petition for habeas corpus recently

filed pursuant to 28 U.S.C. § 2255 to vacate her criminal

conviction.     For the reasons that follow, the motion to recuse

will be denied.

I.   Background

     A. Facts

     While the facts of this case have been often rehearsed, the

Court will briefly reiterate the pertinent facts.         In January,

2020, Kimmel was indicted for conspiracy to commit mail and wire

fraud and honest services mail and wire fraud (Count One) and

conspiracy to commit federal programs bribery (Count Two).


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    The charges arose from an alleged conspiracy in which

Kimmel worked with purported college counselor William “Rick”

Singer (“Singer”) to enable her children to obtain admission to

Georgetown University (“Georgetown”) and the University of

Southern California (“USC”), respectively, through fraud.

    According to the presentence report (“PSR”), Kimmel paid

Singer over $500,000 in the form of “donations” to Singer’s sham

charity.    In exchange, Singer facilitated admission of Kimmel’s

otherwise underqualified children through the so-called “side

door” of athletic recruitment, in one case by the Georgetown

tennis team and in the other by the USC track team.         Her

children did not competitively compete in those sports.

    Nonetheless, Kimmel’s children were, respectively,

presented to the Georgetown and USC admissions committees as

recruited athletes and were admitted to those colleges on that

basis.     Had it not been for the fraudulent representations, it

is unlikely they would have been admitted.

    B. Procedural Background

    After her indictment, Kimmel moved to dismiss Count One

contending, as she does now, that admissions slots are not

property cognizable under the wire and mail fraud statutes.            The

Court denied the motion.

    In August, 2021, Kimmel and the government entered into a

binding plea agreement pursuant to Fed. R. Crim. P. 11(c)(1)(C)

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(“C plea”).    Under the C plea, the government agreed to dismiss

Count Two, federal programs bribery, in return for the entry of

a guilty plea on Count One by Kimmel and a waiver of her

appellate rights.    The parties jointly recommended a sentence of

six weeks of incarceration, 12 months of home detention, one

year of supervised release, a $250,000 fine and 500 hours of

community service.

      Shortly thereafter, Kimmel participated in a Rule 11

colloquy and pled guilty to Count One. At her sentencing

hearing, in December, 2021, the Court accepted the C-plea and

the agreed upon sentence was imposed accordingly.

II.   Motion for Recusal

      Under 28 U.S.C. § 455(a), a judge “shall disqualify himself

in any proceeding in which his impartiality might reasonably be

questioned.”

      Courts assess motions under § 455(a) by determining whether

      the charge of lack of impartiality is grounded on
      facts that would create a reasonable doubt concerning
      the judge's impartiality

from the perspective of an objectively reasonable and

knowledgeable member of the public.       United States v. Voccola,

99 F.3d 37, 42 (1st Cir. 1996) (quoting United States v. Cowden,

545 F.2d 257, 265 (1st Cir. 1976)).       The assessment considers

the perspective of a person who knows the full facts at issue.



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    Furthermore, there is an equal obligation upon a judge not

to recuse himself when there is no good reason to do so. See In

re Union Leader Corp., 292 F.2d 381, 391 (1st Cir. 1961)

(citations omitted).    There is a high threshold to demonstrate

that recusal is warranted, see United States v. Sampson, 148

F.Supp.3d 75, 87 (D. Mass. 2015) (citation omitted), and it is

presumed that “a judge will put personal beliefs aside and rule

according to the laws as enacted, as required by his or her

oath.” Id. (quoting In re Aguinda, 241 F.3d 194, 204 (2d Cir.

2001)).

    Here, the recusal motion is predicated on 1) the

considerable media attention drawn to the case 2) the fact that

Kimmel joined motions of co-defendants that later proved to be

successful in the First Circuit Court of Appeals (“First

Circuit”) and 3) the decision by the subject judge to recuse

himself from the re-sentencing of defendant John Wilson, who was

charged in the same case.

    The government opposes recusal.       It contends that the legal

basis for Kimmel’s § 2255 motion was not addressed by the First

Circuit and that recusal in the Wilson case was based on a local

rule not applicable here.

    The substance of the § 2255 motion before the Court is that

college admissions slots do not constitute property under the

wire or mail fraud statutes, and thus, petitioner purportedly

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pled guilty to conduct that did not constitute a federal crime.

Kimmel’s motion relies primarily on the recent United States

Supreme Court decision in Ciminelli v. United States, 598 U.S.

306 (2023), which was decided approximately three years after

the entry of her plea.       The partial reversal of this Court’s

decision by the First Circuit in United States v. Abdelaziz et

al., 68 F.4th 1 (1st Cir. 2023), does not bear upon petitioner’s

motion for recusal.       This Court has an obligation to apply

faithfully binding U.S. Supreme Court doctrine and it will do so

here.

     Nor does the judge’s decision to recuse himself in the

Wilson case bear on the present motion.          In that case, defendant

had successfully appealed most of his conviction and the First

Circuit remanded the case.        Because the government dismissed

claims still pending on remand, Local Rule 40.1(k)(2) (now Local

Rule 40.1(l)(2)) applied.        That rule directs reassignment unless

retaining the case would result in both substantial time savings

and there is “no reason” in the interest of justice why

proceedings should not be conducted before a new judge.             While

the Wilson case was a close call for reassignment, the high

interest-of-justice bar, together with the presumption of

reassignment, informed the result in that case.

     By contrast, with respect to a motion to recuse, the

default position is not to recuse unless there are facts that

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would suggest reasonable doubt as to the Court’s impartiality.

Kimmel raises no such doubts.     While the case has attracted

media attention, albeit less than the Wilson case, that fact

alone is insufficient to warrant recusal in these circumstances.

    Also unlike the Wilson case, the present action was not

remanded by the First Circuit because Kimmel pled guilty on the

advice of competent counsel.     Now, she would like to rescind

that decision and get a second bite of the apple.         The case,

however, has been before this session since indictment without

interruption or reason to call into question the Court’s

impartiality.   The motion is fraught with judge-shopping,

something Congress expressly sought to deter by enacting the

recusal statute. See H.R. Rep. No. 93–1453 (1974), 1974

U.S.C.C.A.N. §§ 6351, 6355 (“[E]ach judge must be alert to avoid

the possibility that those who would question his impartiality

are in fact seeking to avoid the consequences of his expected

adverse decision.”); see also Rosenberg v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 976 F. Supp. 84 (D. Mass. 1997).

The motion will be denied.




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                                 ORDER

    For the foregoing reasons, the motion of petitioner,

Elisabeth Kimmel, for recusal of the district judge (Docket No.

2755) is DENIED.

So ordered.



                                        __/s/ Nathaniel M. Gorton _
                                        Nathaniel M. Gorton
                                        United States District Judge

Dated:   April 10, 2024




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